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 Date:01/12/2018                          Judge: JOHN F. ANDERSON
                                          Reporter: FTR
 Start:
 Finish:       J42-V\yV\

 Civil Action Number: 1:17-cv-364-LMB-JFA

 Sharvl Thompson Attkisson et ai.

 VS.



 Eric Himpton Holder Jr. et al

 Appearances ofCounsel for (V) Pltf( )Deft (\/Non-Party
 (     ) Matter is uncontested
 Motion to/for:

 ri561 NON-PARTY VERIZON VIRGINIA LLC'S MOTION FOR A PROTECTIVE ORDER

 [159] PLAINTIFFS' MOTION TO COMPEL

 Argued &
 ( ) Granted ( ) Denied ( ) Granted in part/Denied in part
 ( ) Taken Under Advisement ( ) Continued to

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       |gp|~i- dCYwrj:^ wi-tylOA^




 ( ) Report and Recommendation to Follow
 (V)
  V) OrdqSo Follow
